           Case 25-01706                Doc 1            Filed 02/04/25 Entered 02/04/25 07:53:34                                 Desc Main
                                                           Document     Page 1 of 18
 Fill in this information to identify the case:

  United States Bankruptcy Court for the:

  Northern District of Illinois

                                                                       11
  Case number (If known):                                    Chapter                                                                    ❑ Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1. Debtor's name                            Luther Oaks, Inc.


2. All other names debtor used
                                            dba Luther Oaks
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



3. Debtor's federal Employer              XX-XXXXXXX
   Identification Number (EIN)



4. Debtor's address                         Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                            601 Lutz Road
                                            Number        Street                                        Number      Street


                                                                                                        P.O. Box
                                            Bloomington                     IL      61704
                                            City                            State     ZIP Code          City                        State        ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            McLean County
                                            County
                                                                                                        Number      Street




                                                                                                         City                       State        ZIP Code



5. Debtor's website (URL)                   lutheranlifecommunities.org/lutheroaks


6. Type of debtor
                                            CO Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            ❑ Partnership (excluding LLP)
                                            ❑ Other. Specify:



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
           Case 25-01706              Doc 1        Filed 02/04/25 Entered 02/04/25 07:53:34                                             Desc Main
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              Luther Oaks, Inc.                                                                   Case number (I/ known)
Debtor
              Name


                                      A. Check one:
7. Describe debtor's business
                                      EL Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      0 Railroad (as defined in 11 U.S.C. § 101(44))
                                      0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      0 None of the above

                                      B. Check all that apply:
                                      0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § 80a-3)
                                      ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                         See http://www.naics.com/search/
                                           6233

8. Under which chapter of the          Check one:
   Bankruptcy Code is the             0    Chapter 7
   debtor filing?                          Chapter 9
                                      0
                                      0    Chapter 11. Check all that apply:
                                                         0          Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                 4/01/25 and every 3 years after that).
    A debtor who is a "small business
    debtor" must check the first sub-                        O     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
    box. A debtor as defined in                                  debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return or if all of these
    § 1182(1) who elects to proceed
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    under subchapter V of chapter 11
    (whether or not the debtor is a                          ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
    "small business debtor") must                                chooses to proceed under Subchapter V of Chapter 11.
    check the second sub-box.
                                                             0     A plan is being filed with this petition.

                                                             O     Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             O     The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                 Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                 Rule 12b-2.
                                       0   Chapter 12



9. Were prior bankruptcy cases         0 No
   filed by or against the debtor
   within the last 8 years?                Yes. District                                   When                        Case number
                                                                                                  MM / DD / YYYY
    If more than 2 cases, attach a
                                                  District                                 When                        Case number
    separate list.
                                                                                                  MM / DD / YYYY
10. Are any bankruptcy cases           0 No
    pending or being filed by a
    business partner or an             EI Yes. Debtor See Rider                                                        Relationship
    affiliate of the debtor?                      District                                                             When
                                                                                                                                      MM / DD /YYYY
    List all cases. If more than 1,
    attach a separate list.                       Case number, if known

  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2
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             Luther Oaks, Inc.                                                               Case number (if known)
Debtor
             Name



ii. Why is the case filed in this       Check all that apply:
    district?
                                        CI Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                        0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have El No
    possession of any real        El Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                  Why does the property need immediate attention? (Check all that apply.)
    attention?
                                          CI It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                 O It needs to be physically secured or protected from the weather.

                                                 O It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                 O Other



                                                 Where is the property?
                                                                            Number         Street



                                                                            City                                             State      ZIP Code


                                                 Is the property insured?
                                                 O No
                                                 CI Yes. Insurance agency

                                                           Contact name

                                                          Phone




MI         Statistical and administrative information



13. Debtor's estimation of               Check one:
    available funds                      0 Funds will be available for distribution to unsecured creditors.
                                         CI After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         O 1-49                           CI 1,000-5,000                              U 25,001-50,000
14. Estimated number of                  U 50-99                          CI 5,001-10,000                             O 50,001-100,000
    creditors                                                                                                         CI More than 100,000
                                         0 100-199                        O 10,001-25,000
                                         CI 200-999

                                         O $0-$50,000                     1p $1,000,001-$10 million                   CI $500,000,001-$1 billion
15. Estimated assets                     CI $50,001-$100,000              0 $10,000,001-$50 million                   CI $1,000,000,001-$10 billion
                                         CI $100,001-$500,000             CI $50,000,001-$100 million                 O $10,000,000,001-$50 billion
                                         CI $500,001-$1 million           CI $100,000,001-$500 million                CI More than $50 billion




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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                       Luther Oaks, Inc.
          Debtor                                                                                         Case number (IIknown)
                       Name


                                                  O $0450,000                        ❑ $1,000,001410 million                      ❑ $500,000,001-$1 billion
         16, Estimated liabilities
                                                  ❑ $50,001-$100,000                 LA $10,000,001450 million                    ❑ $1,000,000,001-$10 billion
                                                  ❑ $100,001-$500,000                ❑ $50,000,001-$100 million                   O $10,000,000,001-$50 billion
                                                  El $500,00141 million                $100,000,001-$500 million                  LI More than $50 billion



                     Request for Relief, Declaration, and Signatures


          WARNING -- Bankruptcy fraud is a serious crime, Making a false statement in connection with a bankruptcy case can result in fines up to
                     $500,000 or imprisonment for up to 20 years, or both, 18 U.S.C, §§ 152, 1341, 1519, and 3571.


          17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
              authorized representative of
                                                      petition.
              debtor

                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the Information is true and
                                                      correct.


                                                  I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on     02/04/2025
                                                                     MM / DD /YYYY
                                                                                                                     Amy LaCroix
                                                   X Is/      An" Lten,gx

                                                      Signature of authorized representative of debtor            Printed name

                                                      Title       Secretary




          18. Signature of attorney                    /s/ David A. Agay                                          Date           02/04/2025
                                                      Signature of attorney for debtor                                           MM    / DD / YYYY


                                                      David A. Agay
                                                      Printed name
                                                      McDonald Hopkins
                                                      Firm name
                                                       300 North LaSalle Street Suite 1400
                                                      Number         Street
                                                      Chicago                                                           IL              60654
                                                      City                                                             State            ZIP Code

                                                      312-280-0111                                                       dagay@mcdonaldhopkins.com.
                                                      Contact phone                                                    Email address


                                                      ARDC 6244314                                                               IL
                                                      Bar number                                                       State




            Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                      Case 25-01706                 Doc 1          Filed 02/04/25 Entered 02/04/25 07:53:34                                    Desc Main
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        Fill in this information to identify the case:

        Debtor name     Lutheran Home and Services for the Aged, Inc., et al.

        United States Bankruptcy Court for the: Northern                         District of Illinois
                                                                                            (State)
                                                                                                                                                      ❑ Check if this is an
        Case number (If known):                                                                                                                         amended filing




      Official Form 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
      Unsecured Claims and Are Not Insiders                                    12/15

      A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
      disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
      secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
      largest unsecured claims.


       Name of creditor and complete              Name, telephone number,             Nature of the     Indicate if     Amount of unsecured claim
       mailing address, including zip             and email address of creditor       claim (for        claim is      If the claim is fully unsecured, fill in only unsecured claim
       code                                       contact                             example, trade    contingent, amount. If claim is partially secured, fill in total claim
                                                                                      debts, bank       unliquidated, amount and deduction for value of collateral or setoff to
                                                                                      loans,            or disputed calculate unsecured claim.
                                                                                      professional
                                                                                      services, and
                                                                                                                           Total claim, If     Deduction for          Unsecured
                                                                                                                             partially            value of               claim
                                                                                                                             secured            collateral or
                                                                                                                                                   setoff
      Select Rehabilitation                     Attn: Legal Dept                      Trade                                                                          $808,084.60
 1    PO Box 71985                              P:
      Chicago, IL 60694                         F:




      Healthcare & Family Services              Attn: Legal Dept                      Trade                                                                          $446,990.00
 2    201 S Grand Ave E, 3rd Fl                 P:
      Springfield, IL 62763-0002                F:
                                                hfs.rules@illinois.gov



      CR Improvements LLC                       Attn: Legal Dept                      Trade                                                                          $255,294.00
  3    130 Downers Dr                           P:
      Downers Grove, IL 60515                   F:
                                                chris@crimprovements.com



      Direct Energy Business                    Attn Legal Dept                       Trade                                                                          $185,587.05
      PO Box 70220
      Philadelphia, PA 19176                    P: 888-925-9115
                                                F:




      Tabet Divito & Rothstein LLC              Attn: Legal Dept                      Professional                                                                   $70,177.27
 5    209 S Lasalle St, Fl 7                    IP: 312-762-9450                      Services
      Chicago, IL 60604                          F: 312-762-9451




      Thomas Cuisine                            Attn:                                 Professional                                                                   $64,012.21
      700 E Franklin Rd                         P:                                    Services
      Meridian, ID 83642                        F:




      Constellation NewEnergy Inc               Attn: Legal Dept                      Trade                                                                          $43,449.55
 7    PO Box 4640                               P:
      Carol Stream, IL 60197                    F:




This list is a consolidated list on behalf of each of the debtors and debtors in possession.
                    Case 25-01706             Doc 1         Filed 02/04/25 Entered 02/04/25 07:53:34                                   Desc Main
                                                              Document     Page 6 of 18
Debtor: Lutheran Home and Services for the Aged, Inc., et a/.                                 Case number (if known):



     Name of creditor and complete        Name, telephone number,              Nature of the    Indicate if   Amount of unsecured claim
     mailing address, including zip       and email address of creditor        claim (for       claim is      If the claim is fully unsecured, fill in only unsecured claim
     code                                 contact                              example, trade   contingent, amount. If claim is partially secured, fill in total claim
                                                                               debts, bank      unliquidated, amount and deduction for value of collateral or setoff to
                                                                               loans,           or disputed calculate unsecured claim.
                                                                               professional
                                                                               services, and
                                                                                                                 Total claim, If        Deduction        Unsecured claim
                                                                                                                partially secured      for value of
                                                                                                                                       collateral or
                                                                                                                                          setoff

     3rdThird Marketing LLC               ttn: Legal Dept                      Professional                                                                  $34,325.00

     (11
      'O Box 803
       ashon, WA 98070
                                                  3rd3rd.com
                                                                               Services




     McKesson Medical Surgical           Attn: Legal Dept                      Trade                                                                         $27,049.13
 9   PO Box 204786                       P:
     Dallas, TX 75320




    NIPSCO                                ttn: Legal Dept                      Trade                                                                         $25,723.47
 10 PO Box 13007                         P:
    Merrillville, IN 46411               F:




    Health Care Service Corporation      Attn: Legal Dept                      Trade                                                                         $22,384.69
  1 300 E Randolph St                    P: 800-654-7385
    Chicago, IL 60601                    F:




    Ryan Fire Protection                  ttn: Legal Dept                      Trade                                                                         $22,378.00
 12 9740E 148th St                       P:
    Noblesville, IN 46060                F:




    K&M Printing Co.                     Attn: Legal Dept                      Trade                                                                         $18,270.58
 13 1410 N Meacham Rd                    P:
     chaumburg, IL 60173                 F:




      Ity of Crown Point                 Attn: Legal Dept                      Trade                                                                         $15,350.80
   4 101 North East St                   P:
      rown Point, IN 46307               F:




     ilversphere LLC                      Attn:        Dept                    'Trade                                                                        $15,300.00
 15 PO Box 75701                              :
    Chicago, IL 80675                    1F:
                                          11
                                           )4/
                                              ccountsreceivable@sentrics.com



     OneNeck IT Solutions LLC            Attn: Legal Dept                      Trade                                                                         $15,069.55
  16 PO Box 85790                        P:
     Minneapolis, MN 55485               F:




      meren Illinois                     Attn: Legal Dept                      Trade                                                                          $14,883.92
 17P  O Box 88034
     Chicago, IL 60680                   F:




3565elinCli01 Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                       page 2
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Debtor: Lutheran Home and Services for the Aged, Inc., et al.                         Case number (if known):

       Name of creditor and complete       Name, telephone number,       Nature of the    Indicate if   Amount of unsecured claim
       mailing address, including zip      and email address of creditor claim (for       claim Is      If the claim is fully unsecured, fill In only unsecured claim
       code                                contact                       example, trade   contingent, amount. If claim Is partially secured, fill in total claim
                                                                         debts, bank      unliquidated, amount and deduction for value of collateral or setoff to
                                                                         loans,           or disputed calculate unsecured claim.
                                                                         professional
                                                                         services, and
                                                                                                           Total claim, if        Deduction       Unsecured claim
                                                                                                          partially secured      for value of
                                                                                                                                 collateral or
                                                                                                                                    setoff

    Critical HVAC Systems LLC             ttn: Legal Dept                Trade                                                                         $14,155.41
 18 5400 Newport Dr, Ste 1               P:
    Rolling Meadows, IL 60008            F:




      Prime Senior Home Care Inc         Attn: Legal Dept                Trade                                                                         $11,205.00
 19    331 N Lincoln Ave, Ste 3
      Lincolnwood, IL 60712              F:
                                         primeseniorcare©gmail.com



       K Elevator Corporation            Attn: Legal Dept                Trade                                                                         $11,106.24
  0[19 40 W Adams St, Ste 404
      Chicago, IL 60607
                                         P: 312-733-8025
                                         F:




35655052.1

      Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 3
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        Fill in this information to identify the case and this filing:


        Debtor Name Luther Oaks, Inc.
        United States Bankruptcy Court for the:     Northern                 District of Illinois
                                                                                                 (Stele)
        Case number (If known):




      Official Form 202
      Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/16

      An individual who is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit
      this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
      and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
      document, and the date. Bankruptcy Rules 1008 and 9011.
      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
      1519, and 3571,



                  Declaration and signature



                I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
                another Individual serving as a representative of the debtor In this case.
               I have examined the information in the documents checked below and I have a reasonable belief that the Information is true and correct:


               El Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

                LI Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

               Li    Schedule E/F; Creditors Who Have Unsecured Claims (Official Form 206E/F)

               LI Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                ❑ Schedule H: Codebtors (Official Form 206H)

                LI Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                CD Amended Schedule

                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                ail Other document that requires a declaration        Corporate Ownership Statement



               I declare under penalty of perjury that the foregoing is true and correct,
                                                                         ,...--DocuSlaneci by:


               Executed on 2--/ / 2O,                             X                 l,‘04444
                           MM i DID / YYYY                               SigriVe'OrtiTdividual signing on behalf of debtor


                                                                            Amy LaCroix
                                                                         Printed name

                                                                              Secretary
                                                                       Position or relationship to debtor


       Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                              )     Chapter 11
                                                     )
 Luther Oaks, Inc.,                                  )     Case No. 25-[             ]
                                                     )
                           Debtor.                   )     (Joint Administration Requested)

                                               RIDER I

          Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        Each of the entities listed below (collectively, the "Debtors") filed a petition in the United
States Bankruptcy Court for the Northern District of Illinois for relief under chapter 11 of title 11 of
the United States Code contemporaneously with the above-captioned debtor. The Debtors are
moving for joint administration of each of these cases.


                                                Debtor

                                 Lutheran Home and Services for the
                                 Aged, Inc.


                                 Lutheran Home for the Aged, Inc.


                                 Luther Oaks, Inc.


                                 Pleasant View Luther Home, Inc.


                                 Wittenberg Lutheran Village, Inc.


                                 Wittenberg Lutheran Village
                                 Endowment Corporation


                                 Lutheran Life Communities

                                 Lutheran Life Communities
                                 Foundation
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                                    Chapter 11

 Luther Oaks, Inc.,                                        Case No. 25-[

                            Debtor.                 )      (Joint Administration Requested)

                                             RIDER I

                          VERIFICATION OF CREDITOR MATRIX

          I, the Corporate Secretary of the above-captioned entity named as a debtor in this case,

hereby verify that the attached list of creditors is true and correct to the best of my knowledge.


Date: February 4, 2025                                  /s/ Amy LaCroix
                                                        By:    Amy LaCroix
                                                        Title: Corporate Secretary




35648601.2
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                                 RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                                         LUTHERAN LIFE MINISTRIES

                                     AND SOLE MEMBER OF
                         LUTHERAN HOME AND SERVICES FOR THE AGED, INC.,
                                      LUTHER OAKS, INC.,
                               PLEASANT VIEW LUTHER HOME, INC.,
                              WITTENBERG LUTHERAN VILLAGE, INC.,
                     WITTENBERG LUTHERAN VILLAGE ENDOWMENT CORPORATION
                               LUTHERAN LIFE COMMUNITIES ; AND
                            LUTHERAN LIFE COMMUNITIES FOUNDATION

                                                   LUTHERAN LIFE MINISTRIES

                                                             February 3, 2025

                      On the date written above, the board of directors (the "Board") of Lutheran Life Ministries,
             an Illinois not-for-profit corporation (the "Company") and the sole member of (i) Lutheran Home and
             Services for the Aged, Inc., an Illinois not-for-profit corporation ("Lutheran Home and Services"),
             (ii) Luther Oaks, Inc., an Illinois not-for-profit corporation ("Luther Oaks"), (iii) Pleasant View
             Luther Home, Inc., an Illinois not-for-profit corporation ("Pleasant View"), (iv) Wittenberg Lutheran
             Village, Inc., an Indiana non-profit corporation ("Wittenberg Lutheran Village"), (v) Wittenberg
             Lutheran Village Endowment Corporation, an Indiana non-profit corporation ("Wittenberg
             Endowment"), (vi) Lutheran Life Communities Foundation, an Illinois not-for-profit corporation
             ("LLCF"); and (vii) Lutheran Life Communities, an Illinois not-for-profit corporation ("LLC"), and
             as an indirect member of Lutheran Home for the Aged, Inc., an Illinois not-for-profit corporation
             ("Lutheran Home for the Aged" and, together with Lutheran Home and Services, Luther Oaks,
             Pleasant View, Wittenberg Lutheran Village, Wittenberg Endowment, LLCF, and LLC, the
             "Entities", and individually, each an "Entity"), held a telephonic/virtual meeting at which a quorum
             was present, whereby the majority of directors present consented to taking of the following actions
             and adopted the following resolutions pursuant to the Company's Constitution/Bylaws and in
             accordance with the Illinois General Not For Profit Corporation Act of 1986, as amended:

                     WHEREAS, each Entity has been investigating strategic alternatives for addressing the
             financial needs of such Entity and its affiliates, reorganizing their business, maximizing the value
             of the assets of such Entity and its affiliates, and protecting each of Lutheran Home and Services,
             Luther Oaks, Pleasant View, Wittenberg Lutheran Village, Wittenberg Endowment, and Lutheran
             Home for the Aged (collectively, the "OG Members") from the appointment of a receiver over the
             OG Members and their assets and the corresponding damaging and value destructive consequences
             of such appointment on the Entities;

                      WHEREAS, the board of directors of each Entity has determined that it is in the best
             interests of each Entity, its creditors, and other interested parties to commence a case under chapter
             11 of title 11 of the United States Code (the "Bankruptcy Code") and to take certain other actions
             to maximize the value of its assets; and
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                     WHEREAS, upon the advice of counsel and other professional advisors, the Board has
             determined that, it is in the best interests of the Company, the Company's creditors, and other
             interested parties for each Entity to commence a case under the Bankruptcy Code and to take
             certain other actions to maximize the value of such Entity's assets.

                     NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                                  Chapter 11 Bankruptcy Cases

                     RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
             the Company, and the Company's creditors, equity holders, and other interested parties, that each
             Entity file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United
             States Bankruptcy Court for the Northern District of Illinois (the "Court");

                     RESOLVED, that each member of the board of directors of each Entity and each officer
             of an Entity (each, an "Authorized Party") is hereby authorized and directed to take, in each case
             with the advice of counsel and the Entity's other advisors, (a) any and all actions necessary or
             appropriate to prepare for and cause such filings to occur, including, without limitation, by causing
             the preparation, execution, verification, and/or filing of all petitions, schedules, statements, lists,
             "first day" motions and applications, and other necessary or appropriate pleadings or papers, and
             (b) any and all other necessary or appropriate actions in furtherance of commencing a bankruptcy
             case (the "Bankruptcy Case"), obtaining necessary or appropriate relief from the Court, and/or
             otherwise transitioning into operating under chapter 11 and any other relevant provisions the
             Bankruptcy Code;

                                                    Retention of Professionals

                      RESOLVED, that, subject to the Court's approval, the law firm of Squire Patton Boggs
             (US) LLP ("SPB") is hereby retained on the terms set forth in SPB's Engagement Letter, dated
             May 6, 2024 (as may be amended or modified from time to time) to serve as the Entities' primary
             bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to advise and
             assist the Entities with respect to all aspects of the Bankruptcy Case, including, without limitation,
             (a) preparing and filing all necessary or appropriate documents to commence the Bankruptcy Case,
             (b) obtaining necessary or appropriate relief from the Court, (c) operating under chapter 11 and
             other relevant provisions of the Bankruptcy Code, and (d) otherwise performing its duties as a
             debtor and debtor-in-possession;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $300,000 previously paid to SPB on account of the services rendered or to be rendered by it;

                     RESOLVED, that McDonald Hopkins LLC ("MH") is hereby retained on the terms set
             forth in its Engagement Letter, dated February 1, 2025 (and as may be amended, restated or
             modified from time to time) to serve as the Entities' Illinois bankruptcy and restructuring counsel;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $100,000 previously paid to MH on account of the services rendered or to be rendered by it;


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                     RESOLVED, that, subject to the Court's approval, OnePoint Partners, LLC ("OnePoint")
             is hereby retained on the terms set forth in its Engagement Letter, dated April 25, 2024 (as may be
             amended or modified from time to time) to serve as the Entities' financial advisor in the
             Bankruptcy Case;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $80,000 previously paid to OnePoint on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, Stretto ("Stretto") is hereby retained
             on the terms set forth in its Engagement Letter, dated February 3, 2025 (as may be amended or
             modified from time to time) to serve as the Entities' claims, noticing, solicitation, balloting, and/or
             tabulation agent for the Entities in the Bankruptcy Case;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $10,000 previously paid to Stretto on account of the services rendered or to be rendered by it;

                                                       Use of Cash Collateral

                     RESOLVED, that each Entity, by and through any Authorized Party, is hereby authorized
             and instructed to make such arrangements and take such actions as it deems necessary or proper
             for the Entity to use cash collateral as a debtor-in-possession under chapter 11 of the Bankruptcy
             Code;

                                                Other Bankruptcy Authorizations

                     RESOLVED, that the Entity and each Authorized Party is authorized and empowered to
             (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
             (c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
             such parties deem necessary or appropriate in order to fully carry out the intent and to accomplish
             the purposes of these resolutions;

                     RESOLVED, that any and all past actions previously taken by the officers and/or directors
             of the Entity in the name or otherwise on behalf of the Entity with respect to the commencement
             of the Bankruptcy Case or otherwise in furtherance of any or all of these resolutions are hereby
             ratified, confirmed, and approved; and

                    RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
             reproduction method, and such execution shall be considered valid, binding, and effective for all
             purposes.




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                     IN WITNESS WHEREOF, the Sole Member and Board have adopted these resolutions
             as of the date first written above.



                                                                 LUTHERAN LIFE MINISTRIES

                                                                ENd„t,,,s‘..tv,r,
                                                                    Signed
                                                                     st




                                                                 Nicholas retr4iluell
                                                                 Corporate Secretary




                    Signature Page to Resolutions of the Board of Directors of Lutheran Life Ministries
              and Sole Member of Lutheran Home and Services for the Aged, Inc., Luther Oaks, Inc., Pleasant
                  View Luther Home, Inc., Wittenberg Lutheran Village, Inc., Wittenberg Lutheran Village
              Endowment Corporation; Lutheran Life Communities Foundation and Lutheran Life Communities
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                                   RESOLUTIONS OF THE BOARD OF DIRECTORS

                                                        LUTHER OAKS, INC.

                                                         February 3, 2025

                     On the date written above, the board of directors (the "Board") of Luther Oaks, Inc., an Illinois
             not-for-profit corporation (the "Company"), held a telephonic/virtual meeting at which a quorum was
             present, whereby the majority of directors present consented to taking of the following actions and
             adopted the following resolutions pursuant to the Company's Amended and Restated Bylaws and in
             accordance with the Illinois General Not For Profit Corporation Act of 1986, as amended:

                     WHEREAS, the Company has been investigating strategic alternatives for addressing the
             financial needs of the Company and its affiliates, reorganizing their business, maximizing the value
             of the assets of the Company and its affiliates, and protecting the Company from the appointment
             of a receiver over the Company and its assets and the corresponding damaging and value
             destructive consequences of such appointment; and

                    WHEREAS, upon the advice of counsel and other professional advisors, the Board has
            determined that, it is in the best interests of the Company, the Company's creditors, and other
            interested parties to commence a case under chapter 11 of title 11 of the United States Code (the
            "Bankruptcy Code") and to take certain other actions to maximize the value of their assets.

                     NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                                  Chapter 11 Bankruptcy Cases

                     RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
             the Company, and the Company's creditors, equity holders, and other interested parties, that the
             Company file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United
             States Bankruptcy Court for the Northern District of Illinois (the "Court");

                     RESOLVED, that each member of the Board and each officer of the Company (each, an
             "Authorized Party") is hereby authorized and directed to take, in each case with the advice of
             counsel and the Company's other advisors, (a) any and all actions necessary or appropriate to
             prepare for and cause such filings to occur, including, without limitation, by causing the
             preparation, execution, verification, and/or filing of all petitions, schedules, statements, lists, "first
             day" motions and applications, and other necessary or appropriate pleadings or papers, and (b) any
             and all other necessary or appropriate actions in furtherance of commencing a bankruptcy case
             (the "Bankruptcy Case"), obtaining necessary or appropriate relief from the Court, and/or
             otherwise transitioning into operating under chapter 11 and any other relevant provisions the
             Bankruptcy Code;

                    RESOLVED, that the Board recommends that the sole member of the Company, Lutheran
             Life Ministries, an Illinois not-for-profit corporation, approve the Bankruptcy Case;
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                                                    Retention of Professionals

                   RESOLVED, that, subject to the Court's approval, the law firm of Squire Patton Boggs
            (US) LLP ("SPB") is hereby retained on the terms set forth in SPB's Engagement Letter, dated
            May 6, 2024 (as may be amended or modified from time to time) to serve as the Company's
            primary bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to
            advise and assist the Company with respect to all aspects of the Bankruptcy Case, including,
            without limitation, (a) preparing and filing all necessary or appropriate documents to commence
            the Bankruptcy Case, (b) obtaining necessary or appropriate relief from the Court, (c) operating
            under chapter 11 and other relevant provisions of the Bankruptcy Code, and (d) otherwise
            performing its duties as a debtor and debtor-in-possession;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $300,000 previously paid to SPB on account of the services rendered or to be rendered by it;

                     RESOLVED, that McDonald Hopkins LLC ("MH") is hereby retained on the terms set
             forth in its Engagement Letter, dated February 1, 2025 (and as may be amended, restated or
             modified from time to time) to serve as the Company's Illinois bankruptcy and restructuring
             counsel;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $100,000 previously paid to MH on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, OnePoint Partners, LLC ("OnePoint")
             is hereby retained on the terms set forth in its Engagement Letter, dated April 25, 2024 (as may be
             amended or modified from time to time) to serve as the Company's financial advisor in the
             Bankruptcy Case;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $80,000 previously paid to OnePoint on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, Stretto ("Stretto") is hereby retained
             on the terms set forth in its Engagement Letter, dated February 3, 2025 (as may be amended or
             modified from time to time) to serve as the Company's claims, noticing, solicitation, balloting,
             and/or tabulation agent for the Company in the Bankruptcy Case;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $10,000 previously paid to Stretto on account of the services rendered or to be rendered by it;

                                                      Use of Cash Collateral

                    RESOLVED, that the Company, by and through any Authorized Party, is hereby
             authorized and instructed to make such arrangements and take such actions as it deems necessary
             or proper for the Company to use cash collateral as a debtor-in-possession under chapter 11 of the


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             Bankruptcy Code;

                                               Other Bankruptcy Authorizations

                     RESOLVED, that the Company and each Authorized Party is authorized and empowered
             to (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
             (c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
             such parties deem necessary or appropriate in order to fully carry out the intent and to accomplish
             the purposes of these resolutions;

                     RESOLVED, that any and all past actions previously taken by the officers and/or directors
             of the Company in the name or otherwise on behalf of the Company with respect to the
             commencement of the Bankruptcy Case or otherwise in furtherance of any or all of these
             resolutions are hereby ratified, confirmed, and approved; and

                    RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
             reproduction method, and such execution shall be considered valid, binding, and effective for all
             purposes.




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                     IN WITNESS WHEREOF, the Board has adopted these resolutions as of the date first
             written above.

                                                                   ..---DocuSigned by:

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                                                                    \--391..)A94LLbCbblb4(..
                                                                            LaCroix`
                                                                   Corporate Secretary




                                   Signature Page to Resolutions of the Board of Directors of
                                                      Luther Oaks, Inc.
